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         ORDERED in the Southern District of Florida on August 13, 2024.



                                                             Peter D. Russin, Judge
                                                             United States Bankruptcy Court
_____________________________________________________________________________



                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

          In Re:                                                   CASE NO.: 24-14482(PDR)

          Roi Neeman,                                              CHAPTER 7

                                           Debtor


               AGREED ORDER GRANTING CREDITOR’S MOTION TO EXTEND TIME

                   THIS MATTER came before the Court upon Creditor Jessica Piafsky’s Motion to Extend

         Creditor’s Deadlines to File Objections to Discharge or to Challenge Dischargeability of Certain

         Debt [ECF No. 22] pursuant to Fed. R. Bankr. P. Fed. R. Bankr. P. Rules 4007(c) and 9006, and the

         Court, having reviewed the motion and having been advised of an agreement between the creditor

         and debtor as to the extension,

                   It is ORDERED that:

                   1.    The Motion is GRANTED. Creditor Piafsky’s shall have through and including

         September 30, 2024 within which to file any objections to discharge and/or to challenge the
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dischargeability of certain debt in the above styled case.

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Copies furnished to David W. Berenthal, Esq., who shall serve a copy of the order on all interested
parties entitled to such notice and file a certificate of service thereon.
